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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                           4:12CR000246-11 DPM


ENOC GARCIA

                                       ORDER

      On September 19, 2012, the Court entered an Order Setting Conditions of

Release (docket entry #192) which restricted Defendant’s travel to the Eastern

District of Arkansas, and required him to surrender his green card and social

security card.

      Defendant’s Pretrial Services Officer (“PTSO”) has reported that Defendant

is attempting to obtain a valid Arkansas driver’s license in order to drive to and

from work. However, the PTSO states that Defendant must present his original

green card in order to obtain a driver’s license.

      Under these circumstances, the Court will authorize the PTSO to give

Defendant his original green card for the limited purpose of obtaining a valid

Arkansas driver’s license. Thereafter, Defendant must return his original green

card to the PTSO.
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IT IS SO ORDERED this 26th day of February, 2013.



                       ___________________________________
                       UNITED STATES MAGISTRATE JUDGE




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